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                     MDL 1570 PLAINTIFFS’ EXECUTIVE COMMITTEES
                             In re: Terrorist Attacks on September 11, 2001 (S.D.N.Y.)

      Plaintiffs’ Executive Committee for Personal                    Plaintiffs’ Executive Committee for
                 Injury and Death Claims                                       Commercial Claims
 Ronald L. Motley (1944-2013)                                  Stephen A. Cozen, Co-Chair
 Jodi Westbrook Flowers / Donald A. Migliori, Co-Chairs        Sean Carter, Co-Chair
 MOTLEY RICE LLC                                               COZEN O’CONNOR
 James P. Kreindler, Co-Chair
 KREINDLER & KREINDLER LLP

 Andrew J. Maloney III, Co-Liaison Counsel                      J. Scott Tarbutton, Liaison Counsel
 KREINDLER & KREINDLER LLP                                      COZEN O’CONNOR
 Robert T. Haefele, Co-Liaison Counsel
 MOTLEY RICE LLC
                                                          VIA ECF
January 4, 2019

The Honorable Sarah Netburn, U.S. Magistrate Judge
United States District Court for the S.D.N.Y.
Thurgood Marshall U.S. Courthouse, Room 430
40 Foley Square
New York, NY 10007

         Re:       In Re: Terrorist Attacks on September 11, 2001, 03 MDL 1570 (GBD) (SN)

Dear Judge Netburn:
       On December 21, 2018, the Court ordered the parties affected by the motion filed by
counsel in Havlish, et al. v. bin Laden, et al., 03-cv-9848 (S.D.N.Y.), to meet and confer and
propose a briefing schedule by January 4, 2019. See ECF No. 4303. Members of the Plaintiffs’
Executive Committees (“PECs”) and Havlish counsel met and conferred on December 31, 2018
followed by additional correspondence; however, an agreement on a briefing schedule could not
be reached. The parties are filing as exhibits to this letter the Havlish counsel proposal (Exhibit
A) and the PECs’ proposal (Exhibit B).

                                                                Respectfully,

                                                                By: /s/ Robert T. Haefele
                                                                ROBERT T. HAEFELE
                                                                MOTLEY RICE LLC
                                                                28 Bridgeside Boulevard
                                                                Mount Pleasant, SC 29465
                                                                Tel.: (843) 216-9184
                                                                Email: rhaefele@motleyrice.com
                                                                For the Plaintiffs’ Exec. Committees

cc:      The Honorable George B. Daniels, via ECF
         All Counsel of Record via ECF
